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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS               )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        ) Civil Action 17-cv-2187-TSC
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )


      REPLY IN SUPPORT OF PLAINTIFF’S RENEWED APPLICATION FOR A
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

          Plaintiff has cooperated with Intervenor. It authorized the production of pertinent bank

records                                                                          . Intervenor now

acknowledges that the vast majority of the records that it subpoenaed are not pertinent to its

investigation. But it nevertheless demands the production of all of Plaintiff’s transactions with

any law firm, media company or journalist. As Intervenor’s purported justifications for these

records make clear, the remaining demands seek no pertinent material, and, if not restrained, will

violate Plaintiff’s constitutional rights to due process, free speech and free association, and

destroy Plaintiff’s confidential relationships with its clients.

          Intervenor concedes, as it must, that a congressional committee’s authority to investigate

is not immune from judicial review.           See Intervenor’s Mem. in Opp. to Pl’s Renewed
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Application for TRO (Dkt. No. 25-3) at 8. Despite that concession, it denies that this Court may

play any role in protecting Plaintiff from an overbroad and harassing subpoena. The Supreme

Court has repeatedly refuted Intervenor’s interpretation of the lack of a role for the judiciary in

reviewing congressional investigations. See, e.g., Eastland v. USSF, 421 U.S. 491, 513, 517

(1975) (Marshall, J., concurring); United States v. Rumely, 345 U.S. 41, 44 (1953); Kilbourn v.

Thompson, 103 U.S. 168, 190, 195 (1880).                   Nor can Intervenor disguise itself as a law

enforcement agency, as it has tried to do in its papers, see Intervenor Mem. in Opp. at 3, 14-15,

in order to escape judicial review of its overbroad demands. See Watkins v. United States, 354

U.S. 178, 187, 200 (1957) (“Nor is the Congress a law enforcement or trial agency.”).

        The Supreme Court has been clear that congressional committees cannot pry into private

affairs, expose for the sake of exposure, name names or issue subpoenas for no purpose other

than to punish subjects. See Watkins, 354 U.S. at 187, 200; see also Kilbourn, 103 U.S. at 190,

195. Yet that is precisely what the Committee and its “recused” chair, a former Trump campaign

adviser, are doing—at the urging of President Trump. Beginning just days before Intervenor

submitted its latest overbroad demands to Plaintiff, President Trump tweeted non-stop for several

days about the need to investigate Plaintiff, in retaliation for its investigation of his campaign and

his White House.1


1
  See, e.g., Donald J. Trump, @realDonaldTrump, Oct. 29, 2017, [four consecutive tweets at 6:53 am, 7:02 am, 7:09
am;                                                                                                          7:17
am], https://twitter.com/realDonaldTrump/status/924635359480303616;https://twitter.com/realDonaldTrump/status
/924637600094326784; https://twitter.com/realDonaldTrump/status/924639422066384896;
https://twitter.com/realDonaldTrump/status/924641278947622913 (“Never seen such Republican ANGER &
UNITY as I have concerning the lack of investigation on Clinton made Fake Dossier (now $12,000,000?), ... the
Uranium to Russia deal, the 33,000 plus deleted Emails, the Comey fix and so much more. Instead they look at
phony Trump/Russia, …“collusion,” which doesn't exist. The Dems are using this terrible (and bad for our country)
Witch Hunt for evil politics, but the R’s...are now fighting back like never before. There is so much GUILT by
Democrats/Clinton, and now the facts are pouring out. DO SOMETHING!”); Donald J. Trump,
@realDonaldTrump,                      Oct.                    30,                   2017,                   4:37
am, https://twitter.com/realDonaldTrump/status/924963492645437441 (“Report out that Obama Campaign paid
$972,000 to Fusion GPS. The firm also got $12,400,000 (really?) from DNC. Nobody knows who OK’d!”).



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         The subpoena was not drafted to identify records responsive to the Committee’s Russia

inquiry. See Exhibit A to First Levy Decl. (Dkt. No. 2-3) (requesting all of Plaintiff’s banking

records for the past two years). Instead, it was drafted and pursued to harass and punish Plaintiff.

The unmistakable fact is that if Plaintiff had not filed this suit, the Committee would have

happily prowled through all of Plaintiff’s banking records and used them for no purpose other

than to inflict harm. And despite this suit, the Committee still seeks to do exactly that with

regard to certain categories of Plaintiff’s clients.

         What remains at issue before the Court are overbroad demands for records that Intervenor

does not even seriously attempt to justify as being pertinent to the Committee’s Russia inquiry.

The Court should prevent any further harassment and intrusion into Plaintiff’s constitutional

rights and grant the order.

                                                  ARGUMENT

         Plaintiff has already demonstrated that all four of the preliminary injunction factors

weigh in favor of a TRO. See Mem. of Points & Auth. in Supp. of Pl’s Unopposed Emergency

Mot. for a Temp. Restraining Order and Prelim. Inj. at 4-8.2 In this reply, Plaintiff addresses a

few supplemental points to respond to Intervenor’s arguments.




2
  The Committee misreads the Supreme Court’s decision in Winter v. NRDC, 555 U.S. 7 (2008), and this Circuit’s
subsequent opinion in Sherley v. Sebelius, 644 F.3d 388 (D.C. Cir. 2011), claiming that the “sliding scale” approach
is no longer valid. Opp. at 7. Winter did not establish a new approach; it merely decided that the lower courts had
erred by holding that where the plaintiff had shown a strong likelihood of success on the merits, they need only
show the “possibility” of irreparable harm. 555 U.S. at 22. Similarly, the suggestion that Sherley v. Sebelius
changed the sliding scale approach in this Circuit is directly contradicted by Judge Ginsburg’s opinion for the court.
Although the court noted that Winter could be read to suggest or even hold “that a likelihood of success is an
independent free-standing requirement for a preliminary injunction” (quoting Davis v. Pension Benefit Guaranty
Corp., 571 F.3d 1288 (2009)), the Court explicitly refused to decide the issue. Instead, in deciding that the plaintiffs
were not entitled to preliminary injunctive relief, the Court remarked that “[w]e reach this conclusion under the
sliding scale approach to the preliminary injunction factors; a fortiori we would reach the same conclusion if
likelihood of success on the merits is an independent requirement.” 644 F.3d at 399. The Committee might wish it
to be otherwise, but the sliding scale approach remains appropriate in this Circuit.



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       A. Plaintiff Has Demonstrated a Substantial Likelihood of Success on the Merits.

       Intervenor’s position depends on this Court accepting that it has no ability to do anything

in the face of a plainly overbroad and abusive subpoena requesting records that even Congress

does not attempt to justify as pertinent. This is simply not the law.

            1. Courts May Enforce Limits on Congress’ Authority to Subpoena Documents.

       As much as Intervenor would like to pretend otherwise, federal courts in this circuit have

enjoined a private party’s compliance with a congressional subpoena in United States v. Am. Tel.

& Tel. Co., 567 F.2d 121 (D.C. Cir. 1977) (“AT&T II”). And contrary to Intervenor’s argument,

no court has limited the AT&T II decision to disputes between the executive and legislative

branches.

       Intervenor attempts to ignore the clear limits imposed on congressional powers to

investigate by claiming that it is equivalent to the SEC or some other federal law enforcement

agency, see Intervenor Mem. in Opp. at 3, 14-15, despite the fact that the Supreme Court has

stated precisely the opposite: “Nor is the Congress a law enforcement or trial agency.” Watkins,

354 U.S. at 187; see also United States v. Welden, 377 U.S. 95, 117 (1964) (Black, J., dissenting)

(“Congress is not a law enforcement agency; that power is entrusted to the Executive. Congress

is not a trial agency; that power is entrusted to the Judiciary.”). The Watkins Court continued

and set forth additional limitations on Congress’ authority to conduct investigations:

       But broad as is this power of inquiry, it is not unlimited. There is no general
       authority to expose the private affairs of individuals without justification in terms
       of the functions of the Congress.… No inquiry is an end in itself; it must be
       related to, and in furtherance of, a legitimate task of the Congress. Investigations
       conducted solely for the personal aggrandizement of the investigators or to
       “punish” those investigated are indefensible.

Id. Such limitations must be enforced by the courts.




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        The Watkins Court, of course, also discussed another limitation unique to a congressional

committee’s authority to investigate: pertinency, which is a well-established standard for

congressional investigations. 354 U.S. at 207-16. In Senate Select Ethics Comm. v. Packwood,

845 F. Supp. 17, 21 (D.D.C. 1994), the court found that any record demanded by the Senate

Ethics Committee had to be “pertinent.” Intervenor incorrectly relied on this same decision to

argue that the pertinency test is not applicable. See Intervenor Mem. in Opp. (Dkt. No. 25-3) at

9-10. In Packwood, the court found: “Senator Packwood correctly observed that the records

sought must at least be ‘pertinent’ to the congressional inquiry.” 845 F. Supp. at 21 (emphasis

added).3 This pertinency standard grew out of an Act of Congress, limiting the authority of a

congressional investigation to demand only information, material or testimony “pertinent to the

question under inquiry.” See Watkins, 354 U.S. at 207 (citing 2 U.S.C. § 192). However, as

even Packwood indicates, the standard has been applied outside of the context of 2 U.S.C. § 192.

See, e.g., Packwood, 845 F. Supp. at 21; Senate Permanent Subcomm. v. Ferrer, 199 F. Supp. 3d

125, 137–38 (D.D.C. 2016), vacated as moot sub nom., Senate Permanent Subcomm. on

Investigations v. Ferrer, 856 F.3d 1080 (D.C. Cir. 2017) (applying pertinency standard to

congressional subpoena in action by Senate subcommittee to enforce document subpoena);

Bergman v. Senate Special Comm. on Aging, 389 F. Supp. 1127, 1130 (S.D.N.Y. 1975)

(enjoining bank from complying with congressional subpoena for documents unrelated to

subcommittee investigation and noting that materials subpoenaed by a Congressional committee

must only be produced, inter alia, where the “materials sought are pertinent to the

investigation”).

3
  Whereas the Packwood court did not dispute the legitimacy of the subpoena demanding Senator Packwood’s
diaries, Plaintiff and Defendant Bank have disputed the legitimacy of the subpoena served on Defendant Bank.
See Pl’s Mem. in Support of Application for Emergency TRO (Dkt. No. 2-1) at 5-8; Pl’s Reply in Support of
Emergency TRO (Dkt. No. 13) at 3-4; First Levy Decl. (Dkt. No. 2-3) at ¶ 4.



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       Fundamentally, the pertinency doctrine guarantees that no person be deprived of due

process under the law through the enforcement of a congressional subpoena. On the same day

the Court decided Watkins, it decided Sweezy v. State of N.H., 354 U.S. 234, 254 (1957), and

found that “if the Attorney General’s interrogation [made pursuant to a state legislative

investigation] of petitioner were in fact wholly unrelated to the object of the legislature in

authorizing the inquiry, the Due Process Clause would preclude the endangering of constitutional

liberties.” See also Scull v. Virginia, 359 U.S. 344 (1959) (reversing a conviction for contempt

on due process grounds, in which the witness was not given the opportunity to determine

whether the question being asked of him by a state legislative committee was pertinent); Rumely,

345 U.S. at 44 (holding that an ambiguous authorizing resolution prevented the committee from

compelling the representative of a private organization to disclose the names of all those who

had distributed literature to influence public opinion). Where Plaintiff is unable to resist the

subpoena served on a third party (i.e., Defendant Bank), it cannot avail itself of a contempt

proceeding and thus must seek relief from this Court, through the instant proceeding. Such was

precisely the reasoning employed by the AT&T II court, which enjoined compliance with a

congressional subpoena at the request of a third party that could not resist the subpoena or avail

itself of a contempt proceeding.

       Nor does Intervenor’s gross exaggeration of Exxon Corp. v. FTC, 598 F.2d 582 (D.C.

Cir. 1978), aid its cause to avoid judicial review here. In Exxon Corp., the parties did “not

dispute . . . that Congress has a right of access to” the information being demanded by a

congressional committee. See id. at 585. In short, pertinency was not at issue; it was conceded.

Thus, the issue before the Exxon Corp. court “concern[ed] solely the question of notice to parties




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prior to disclosure of their confidential information and of safeguards to ensure the continued

confidentiality of such information once disclosed to the Congress.” Id. at 586.4

               2. Intervenor Has Failed to Meet Its Burden of Establishing Pertinency.

       Plaintiff need not provide the reasons why a congressional demand for materials is

pertinent; that is the burden of the congressional committee. See Packwood, 845 F.Supp. at 21.

Intervenor has failed to meet this burden. Moreover, even if Intervenor’s burden were the lesser

burden that it so strenuously seeks, Intervenor Mem. in Opp. (Dkt. No. 25-3) at 13-16, it has

failed to meet even that burden, too. Indeed, in its 45-page opposition brief, Intervenor made no

attempt to even reference the “parameters” of the Committee investigation to justify its demand.

This is because Intervenor could not make any good faith claim that what it demands is pertinent

to the investigation, as Plaintiff has authorized the production of every requested bank record

related to Russia or Donald Trump. And while Intervenor previously claimed that the bank

records were pertinent to classified portions of the investigation, that justification has now

disappeared and has been replaced by the brazen assertion that it need not justify the pertinency

of its demands.

       But Intervenor’s explanations make clear that these newly demanded records have no

connection whatsoever to the Committee’s investigation. For example, the Committee seeks

records about Plaintiff’s transactions with law firms on the basis that “Fusion has established a

pattern and practice of using law firms as intermediaries to mask the true beneficiaries of its

research.” See Pl.’s Renewed App., Ex. B. Intervenor stated:

               Given the large sums involved in these retentions, it is highly
               unusual at best for law firms to assume such payment obligations
               on behalf of clients (rather than asking their clients to pay directly)
               absent some reason for concealing the identity of their clients.

4
  Furthermore, the court expressly “emphasize[d]” that it was “not address[ing] the question” of when a
congressional subpoena “has been properly issued.” Exxon Corp., 589 F.2d at 592.


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               Disclosure of the transactions will not reveal the identity of those
               intentionally concealed clients, but it will permit the Committee to
               make inquiries of those law firms to determine the nature of their
               involvement with Plaintiff and any possible relationship to the
               subject matters of the Committee’s investigation.

Intervenor Mem. in Opp. (Dkt. No. 25-3) at 19. In other words, Intervenor concedes the

transactions at issue are not pertinent or in any way connected to Russia or the four questions

that purport to establish the parameters of the Committee’s investigation.

        Intervenor finally rests on the notion that any record related to Plaintiff is pertinent

because “its actions lie at the center of the congressional investigation.” See Intervenor’s Mem.

in Opp. at 2. It seeks to transform a probe of Russian active measures into an investigation of

Plaintiff.   Even in Packwood, the court permitted limitation on what the Senate Ethics

Committee could see within the most important document regarding the central subject of the

investigation – i.e., Packwood’s diaries. See Packwood, 845 F.Supp. at 20 & n.6 (permitting

“masking” of certain information in the diaries).

        Plaintiff has authorized Defendant Bank to produce all records pertinent to the four

questions listed in the committee’s so-called “parameters” of its investigation—all of the bank

records potentially pertinent to “the Dossier” and Plaintiff’s work for Baker Hostetler on behalf

of Prevezon. What remains demanded are not pertinent to the Committee’s investigation. And,

in seeking records “to determine . . . any possible relationship to the subject matters of the

Committee’s investigation,” even the Committee does not pretend otherwise.

               3.     The Purpose of Intervenor’s Overbroad Demands Is to Harass and Punish
                      Plaintiff.

        We respectfully submit that Intervenor is using these overbroad demands to punish

Plaintiff for having investigated Mr. Trump. This form of punishment is little different from

Intervenor’s disparate treatment of Plaintiff’s principals, who – in a McCarthy-like fashion –



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were compelled to appear for a deposition after it was known they would be invoking their

constitutional privileges not to testify – a sharp departure from the practice of this Committee

with regard to other witnesses who invoked their constitutional privileges not to testify and yet

were excused from having to appear.5 On the heels of the announcement of indictments in the

special counsel’s investigation, Intervenor is following the orders of the president to “DO

SOMETHING!”6 Through these overbroad demands for bank records, Intervenor consequently

has sought to name names and use these records as “exposure for exposure’s sake.” See Exxon,

589 F.2d at 588 (stating that “[t]he disclosure was not to be used as ‘exposure for exposure’s

sake’” (quoting Watkins, 354 U.S. at 178)).

        Further evidence of Intervenor’s intention to use these demands as punishment is its

canard that by invoking its constitutional privileges, Plaintiff’s executives have created an

adverse inference that permits Intervenor to conduct a fishing expedition and give Intervenor a

license to any record it chooses, regardless of its pertinency. See Intervenor’s Mem. in Opp. at 3,

17-18, 38; Decl. of S. Glabe (Dkt. No. 25) at ¶ 9; Second Decl. or M. Stewart (Dkt. No. 25) at

¶ 19. Intervenor did not and cannot cite to any decision from any court supporting that position.

Intervenor’s claim that the lawful assertion of the Fifth Amendment by Plaintiff’s principals

entitles the Court to infer that Plaintiff possesses documents relevant to the Committee’s

investigation and that that inference alone entitles them to obtain Plaintiff’s Bank Records is as

stunning as it is wrong. It is stunning to assert that an inference that Plaintiff is withholding

relevant records necessarily entitles them to any Bank records they want. And it is wrong to



5
  See Jeremy Herb and Evan Perez, “Fusion GPS Partners Plead Fifth before House,” CNN.com, Oct. 18, 2017,
available at http://cnn.it/2gPIZaU.
6
  Donald J. Trump, @realDonaldTrump, Oct. 29, 2017, [four consecutive tweets at 6:53 am, 7:02 am, 7:09 am; 7:17
am], https://twitter.com/realDonaldTrump/status/924635359480303616;https://twitter.com/realDonaldTrump/status
/924637600094326784; https://twitter.com/realDonaldTrump/status/924639422066384896;
https://twitter.com/realDonaldTrump/status/924641278947622913


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claim that the inference from the assertion of the Fifth Amendment is that Plaintiff is

withholding something pertinent. Not only is there no required inference to be drawn from a

lawful assertion of the Fifth Amendment right against self-incrimination, see, e.g., LiButti v.

United States, 178 F.3d 114, 120 (2d Cir. 1999) (finding that the Baxter inference is permissive);

Evans v. Robbins, 897 F.2d 966, 970 (8th Cir. 1990) (same), but the inference that Intervenor

claims – i.e., that Plaintiff is withholding any relevant documents – is not marginally justified by

the exercise of their testimonial privilege.

               4. Plaintiff’s Free Associations and Free Speech Are Entitled to First Amendment
                  Protection.

       As a matter of law, Plaintiff’s First Amendment rights to free speech and free association

turn on its conduct and not, as Intervenor incorrectly argues, on Plaintiff’s status as a business.

Compare Intervenor Mem. in Opp. at 24; with Citizens United v. Fed. Election Comm'n, 558

U.S. 310, 342–43 (2010) (“The identity of the speaker is not decisive in determining whether

speech is protected. Corporations and other associations, like individuals, contribute to the

discussion, debate, and the dissemination of information and ideas that the First Amendment

seeks to foster.”) (internal quotation marks omitted). See also Boy Scouts of Am. v. Dale, 530

U.S. 640, 648 (2000) (finding that the First Amendment right to associate depends not on the

identity of the speaker, but on whether “the group engages in ‘expressive association’”); In re

GlaxoSmithKline plc, 732 N.W.2d 257, 268 (Minn. 2007) (“Organizations such as GSK

[GlaxoSmithKline plc] and PhRMA [Pharmaceutical Research and Manufacturers of America]

are clearly entitled to the First Amendment protection of their association rights, both within

their respective organizations and with respect to communications with other organizations.”).

       Contrary to Intervenor’s assertions, Intervenor Mem. in Opp. at 24-25, the “First

Amendment's protection of expressive association is not reserved for advocacy groups.” Boy



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Scouts of Am. v. Dale, 530 U.S. at 648.          Moreover, the First Amendment protection for

expressive association is not reserved for groups that engage in collective speech on political

matters, although that expression certainly falls within its ambit, but for groups that “engage in

some form of expression, whether it be public or private.” Boy Scouts of Am. v. Dale, 530 U.S. at

648 (2000) (emphasis added); see also Rumsfeld v. Forum for Acad. & Institutional Rights, Inc.,

547 U.S. 47, 68 (2006) (analyzing whether the Forum for Academic and Institutional Rights,

Inc.’s rights to associate were violated, without ever discussing the for-profit or non-profit nature

of the corporation). Fusion and its clients associate “in pursuit of a wide variety of political,

social, economic, educational, religious, and cultural ends.” Roberts v. U.S. Jaycees, 468 U.S.

609, 622 (1984). Defendant Bank’s compliance with the overbroad subpoena would violate the

First Amendment rights of Plaintiff and its clients by chilling their engagement in expressive

association because they would not be able to do so without fear of being targeted and having

their associations revealed to Congress. The “compelled disclosure of affiliation” with Plaintiff

that will occur if Defendant Bank complies with the overbroad subpoena would dissuade clients

and potential clients from associating with Plaintiff. See, e.g., NAACP v. State of Ala. ex rel.

Patterson, 357 U.S. 449, 462 (1958) (“Inviolability of privacy in group association may in many

circumstances be indispensable to preservation of freedom of association, particularly where a

group espouses dissident beliefs.”).

       As Intervenor concedes, Plaintiff and its clients associate with each other for political

activities and purposes. See Intervenor Mem. in Opp. at 24. Indeed, this is now even more

obvious with the disclosure of Plaintiff’s anti-Trump clients: the Washington Free Beacon,

Perkins Coie and its clients, the Democratic National Committee and the Hillary Clinton




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campaign, as associates of Plaintiff.7 Disclosure and exposure of other of Plaintiff’s associations

would plainly violate the First Amendment. Although Intervenor complains that Plaintiff has not

provided particularized evidence as to which clients engaged Plaintiff for political matters and

which did not, Plaintiff has provided evidence that its “engagements frequently relate to political

matters of public importance, including but not limited to research about political candidates and

issues.” Decl. of Peter Fritsch, in Supp. of Fusion’s Unopposed Mot. for Temp. Restraining

Order & Prelim. Inj. ¶ 6. To require Plaintiff to further disclose it and its clients’ political

activities would inflict the very kind of First Amendment damage that Plaintiff seeks to avoid by

bringing this suit. More important, it is not Plaintiff who bears the burden of persuasion in the

matter.

          B. Compliance with These Overbroad Demands Would Irreparably Harm Plaintiff.

          Mere production of these non-pertinent records would irreparably harm a firm whose

business, whether it be political research or investigations of corporate wrongdoing, is built on

the premise of confidentiality.          The moment that Intervenor takes custody of the records,

Plaintiff’s First Amendment rights and confidentiality interests are irreparably injured, see John

Doe and Jane Doe Decls., Exs. 5-13 to Pl’s Reply in Support of Emergency TRO (Dkt. Nos. 13-3

– 13-11), and this case would become moot. There would be no further opportunity for review.

          Plaintiff has a First Amendment right to associate freely with clients and contractors on

political and other matters and a First Amendment right to engage in those client-activities when

they further political and commercial speech. It also has a right to maintain the confidentiality of

those relationships. The very production of these records to the Committee, without more,


7
  Plaintiff has standing to assert the First Amendment rights of its clients. See Virginia v. Am. Booksellers Ass’n,
Inc., 484 U.S. 383, 392–93 (1988) (holding that booksellers had standing to assert the First Amendment rights of
their customers).



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would mean the end of Plaintiff’s client relationships related to those records, as well as the

immediate violation of Plaintiff’s constitutional rights. See, e.g., John Doe and Jane Doe Decls.,

Exs. 5-13 to Pl’s Reply in Support of Emergency TRO (Dkt. Nos. 13-3 – 13-11). In Schiller v.

City of New York, No. 04CIV.7921(KMK)(JCF), 2006 WL 3592547, at *5 (S.D.N.Y. Dec. 7,

2006), for example, the court explained a similar dynamic:

       The City suggests that fear of public disclosure of WRL members' identities could
       be allayed by designating the unredacted minutes “attorneys'-eyes-only.”
       However, “[i]t is the government itself that Plaintiffs fear, and therefore confining
       the information to government ... counsel will hardly assuage those fears or avoid
       the intimidation that Plaintiffs fear might follow.” International Action Center v.
       United States, 207 F.R.D. 1, 3 (D.D.C. 2002).

And exposure of those relationships certainly would destroy those relationships and frighten

others from engaging in confidential relationships with Plaintiff, including political activity

engagements. This is particularly true were Intervenor to be permitted to demand documents not

because of their pertinency to the investigation, but simply because of Plaintiff’s alleged status as

being central to this investigation.

       C. The Balance of the Equities Is in Plaintiff’s Favor.

       The harm to Plaintiff’s confidential business relationships, Plaintiff’s business itself and

its First and Fifth Amendment rights will be immediate and irreversible should compliance not

be restrained. By contrast, there is no prejudice to Defendant Bank or to the Committee from

any delays associated with the grant of a TRO and an orderly briefing schedule. First, and most

importantly, Plaintiff has already authorized Defendant Bank to produce the pertinent records, so

the Committee has in its possession the records pertinent to its investigation. The outstanding

records have no bearing on the Committee’s investigation and, therefore, there would be no

prejudice to the Committee if they were never produced. However, even if this Court were to

deem the outstanding records to be pertinent and require their production, the Committee would



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suffer no prejudice from any delay in receiving them. While Intervenor’s brief contains large

swaths of revisionist history of how the parties came to be in this dispute,8 what should be clear

to the Court is that, once the Committee was before the Court, the emergency nature of the

response to the subpoena evaporated. Whereas the Committee originally refused to extend the

subpoena compliance deadline for even 48 hours,



                                           . Thus, the purported emergent need for the records has

apparently disappeared. Lastly, it has always been the case that the Committee’s investigation

can continue through the end of this congressional term, which does not expire for more than a

year from now.

         D.       The Public Interest Supports a TRO.

         These demands illustrate an abuse of power by a congressional committee, and it is in the

public interest for this Court to ensure that after Plaintiff’s efforts to authorize the production of

all pertinent records and to permit the Committee to review all others, Intervenor should be

precluded from demanding additional records that have no demonstrable pertinence to its

investigation. At the heart of this matter is a fundamental question of due process under the Fifth

Amendment and the rights to free speech and free association, all of which would be denied to

Plaintiff, were a TRO not entered.              Few issues are of greater public importance than the


8
  Plaintiff notes, however, that it has been cooperating with two other congressional committees investigating the
same exact subject matter. It presented the same terms for cooperation, agreed to by those committees, to this
committee, but this committee rejected those terms. A day after Plaintiff’s counsel presented those terms,
Congressman Nunes, in bad faith, served subpoenas on Plaintiff’s principals. See Second Levy Decl. ¶ 6 & Ex. D
(Dkt. No. 13-2). Despite that, his lawyers have had the temerity to falsely charge Plaintiff’s counsel with
interference in this investigation. See Intervenor’s First Opp. Br. (Dkt. No. 12) at 1-2, 8; Intervenor’s Mem. in Opp.
(Dkt. No. 25-3) at 38-39. Over a month later, however, we presented the Committee with the same terms today, and
we are pleased that the Committee has accepted them, so that Plaintiff’s co-founder Glenn Simpson can participate
in a voluntary interview, with an assurance from Congressman Conaway and Congressman Schiff that Mr. Nunes’
subpoena served on Mr. Simpson will be withdrawn, and that nothing he says in the voluntary interview shall
interfere with his ability to assert privileges in the Committee’s investigation.


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vindication of constitutional rights, whether under the Fifth or First Amendments, both of which

will be violated if compliance is not restrained. Intervenor is plainly punishing Plaintiff for its

exercise of its First Amendment right to associate freely with anti-Trump political campaigns

and to research Mr. Trump for them, and then claiming constitutional privileges. When a

congressional committee has obtained the records it needs and seeks to needlessly interfere in

Plaintiff’s business by extracting non-pertinent records from it, it serves no legitimate legislative

purpose, is an act of punishment for political purposes, and is squarely within the public interest

for this Court to restrain such an abuse of power.

                                         CONCLUSION

       For all of the foregoing reasons herein and in Plaintiff’s previously filed briefs, the Court

should enter a temporary restraining order.

       Dated: November 8, 2017                Respectfully Submitted,

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